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                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      18th day of March, two thousand twenty-one.

      Before:     William J. Nardini,
                         Circuit Judge.
      ________________________________
                                                             ORDER
       Tanya Asapansa-Johnson Walker, Cecilia Gentili,
                                                             Docket Nos. 20-3580(L), 20-3827(Con)
                    Plaintiffs - Appellees,

       v.

       Norris Cochran, in his official capacity as Acting
       Secretary of the United States Department of
       Health and Human Services, and United States
       Department of Health and Human Services,

                 Defendants - Appellants.
       ________________________________

              The parties jointly move the Court to hold this appeal, including the briefing schedule, in
      abeyance while new leadership at the U.S. Department of Health and Human Services evaluates
      the issues this case presents.

               IT IS HEREBY ORDERED that the motion is GRANTED. The parties must file a joint
      status report by no later than May 14, 2021, apprising the Court of the status of the matter and
      submitting a proposal for further proceedings.


                                                            For the Court:
                                                            Catherine O’Hagan Wolfe,
                                                            Clerk of Court




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